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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA


                                               MDL No. 2599
                                               Master File No. 15-2599-MD-MORENO

   IN RE:

   TAKATA AIRBAG PRODUCT
   LIABILITY LITIGATION



   THIS DOCUMENT RELATES TO
   ECONOMIC DAMAGES TRACK CASES
                                           /


       DEFENDANT MAZDA MOTOR OF AMERICA, INC.’S MOTION TO DISMISS
                AND INCORPORATED MEMORANDUM OF LAW
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                                                SUMMARY

           Only three individual plaintiffs have asserted claims against Mazda Motor of America,
   Inc. d/b/a Mazda North American Operations (“MNAO”). They are Crystal Pardue (Alabama),
   Mickey Vukadinovic (Florida), and Justin Birdsall (Pennsylvania) (collectively “Individual
   Plaintiffs”). The Automotive Recyclers Association (“ARA”) also purports to assert claims
   against MNAO that were assigned to it by three automotive parts recyclers in Florida. As with
   any federal class action, it is these specific plaintiffs’ claims and no others that are relevant in
   determining whether MNAO should remain in this case. As discussed below, they each fail to
   state a cause of action in the Second Amended Consolidated Class Action Complaint
   (“SACCAC”), and their claims should therefore be dismissed.
           Plaintiffs purchased Mazda vehicles with airbags manufactured by Takata Corporation
   (“Takata”) that allegedly contain defective airbag inflators (“Inflator Defect”), and they now
   seek economic damages under diminished value and benefit of the bargain theories. But none of
   the Individual Plaintiffs’ vehicles manifested the Inflator Defect in any way. Birdsall owns a
   2004 Mazda 6i, which he purchased used in 2008. Birdsall still owns the vehicle, and he has
   used it for over seven years without an airbag failure. Pardue owns a 2007 Mazda 6, which she
   purchased used in January 2012. Pardue still owns the vehicle, and she has used it for over three
   years without an airbag failure. Vukadinovic purchased a new Mazda MPV in 2004, and he has
   been driving the vehicle for over eleven years without an airbag failure.
           None of these Individual Plaintiffs allege that their airbag failed. None of them allege
   that they suffered a personal injury. None of them allege that they sold their Mazda vehicle at a
   loss. Moreover, each of the Individual Plaintiffs’ airbags will be replaced free-of-charge in the
   Mazda recall being overseen by the National Highway Traffic Safety Administration’s
   (“NHTSA”) Coordinated Remedy Program. In short, by utilizing their vehicles without incident
   for many years and continuing to do so today, the Individual Plaintiffs have received the benefit
   of their bargain.
           Without any incident or injury, the Individual Plaintiffs allege only unspecified,
   hypothetical economic losses. The laws of Alabama, Florida and Pennsylvania govern the
   claims of these plaintiffs, however, and each of these states follows the strict “manifestation
   rule” that requires dismissal of their claims for failure to allege manifestation of a defect.
   Specifically, each of these states have determined that, as a matter of public policy, permitting

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   uninjured consumers to recover money for unmanifested defects is speculative, unfair, and bad
   economics, notwithstanding the fact that the alleged defect is dangerous or can manifest
   suddenly. Federalism, due process, and the Rules Enabling Act dictate respect for the policy
   decisions of those states and their laws.
          In light of the manifestation rule in these states (and other variations in state law), the
   Individual Plaintiffs assert a number of claims on behalf of a nationwide class under California
   law. But none of these plaintiffs allege that they purchased their car in California, that they
   viewed advertisements about their vehicles in California, or that they have ever been to
   California or have any connection with California whatsoever. Simple application of choice-of-
   law principles to each plaintiff demonstrates that California law does not apply. Instead, the
   Individual Plaintiffs’ claims are governed by the law of the state where they purchased their
   vehicles, and plaintiffs’ claims under California law must therefore be dismissed.
          In addition, plaintiffs’ fraud and deceptive-trade-practice claims must be dismissed under
   Fed. R. Civ. P. 9(b) for failure to allege with particularity that MNAO made any false statements
   or engaged in deceptive conduct. Plaintiffs’ allegations of fraud and deceptive conduct are based
   on the assertion that MNAO failed to disclose the existence of the Inflator Defect to the
   Individual Plaintiffs before they purchased their cars. The Individual Plaintiffs purchased their
   cars in 2004, 2008, and 2012, but they do not allege that MNAO had actual knowledge of the
   existence of an Inflator Defect until 2013. Prior to 2013, plaintiffs allege only a single incident
   of an airbag failure in a Mazda vehicle, and the owner of that car has not asserted claims against
   MNAO in this case. While plaintiffs allege that other manufacturers experienced dangerous
   airbag deployments and began working with Takata on the issue as early as 2003, plaintiffs do
   not allege that MNAO had knowledge of an Inflator Defect before 2013, and the Individual
   Plaintiffs’ claims for fraud and deceptive trade practices must therefore be dismissed.
          Aside from the manifestation rule and failure to allege fraud with specificity, these state-
   law claims are also barred by the economic loss rule, the statute of limitations, the privity bar,
   and the pre-suit notice requirement. Some claims are not even recognized under applicable state
   law. Finally, claims for injunctive relief and/or recall-related claims should be dismissed in
   favor of NHTSA’s primary jurisdiction over automotive recalls.
          For these reasons, all of the claims against MNAO should be dismissed.



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                                               ARGUMENT

           A.      Applicable Pleading Standards
           “To survive a motion to dismiss, a complaint must contain sufficient factual matter,
   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556
   U.S. 662, 678 (2009). To meet this standard, a plaintiff must plead “factual content that allows
   the court to draw the reasonable inference that the defendant is liable for the misconduct
   alleged.” Id. “[W]here the well-pleaded facts do not permit the court to infer more than the
   mere possibility of misconduct, the complaint has alleged—but it has not ‘show[n]’—that the
   pleader is entitled to relief.’” Id. at 679 (emphasis added). While the Court “must view the
   complaint in the light most favorable to the plaintiff and accept plaintiff’s well-pleaded facts as
   true,” “‘plaintiffs must do more than merely state legal conclusions.’” Bacerra v. Aldridge
   Connors, LLP, No. 13-23763-CIV, 2013 WL 6497835, at *1 (S.D. Fla. Dec. 11, 2013) (Moreno,
   J.). Instead, “plaintiffs must ‘allege some specific factual basis for those conclusions or face
   dismissal of their claims.’” Id.
           In addition to this baseline standard, “[i]n alleging fraud or mistake, a party must state
   with particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b). Under
   this rule, plaintiffs must allege “the ‘who, what, when, where, and how’ of the alleged fraud.”
   Speier-Roche v. Volkswagen Group of America, Inc., No. 14-20107-CIV, 2014 WL 1745050, at
   *7 (S.D. Fla. Apr. 30, 2014) (Moreno, J.) (citation omitted). Specifically, they must allege:
           (1) precisely what statements were made in what documents or oral
           representations or what omissions were made, and (2) the time and place of each
           such statement and the person responsible for making (or, in the case of
           omissions, not making) same, and (3) the content of such statements and the
           manner in which they misled the plaintiff, and (4) what the defendants obtained as
           a consequence of the fraud.”
   United States ex rel. Clausen v. Lab. Corp. of Am., 290 F.3d 1301, 1310 (11th Cir. 2002); see
   also In re Managed Care Litig., 150 F. Supp. 2d 1330, 1345 (S.D. Fla. 2001) (Moreno J.)
   (same). “Rule 9(b) thus forces a plaintiff to ‘offer more than mere conjecture’ and ‘requires that
   a complaint plead facts giving rise to an inference of fraud.’” Alhassid v. Bank of Am., N.A., 60
   F. Supp. 3d 1302, 1316 (S.D. Fla. 2014) (citations omitted). “In a case with multiple defendants,
   the complaint should contain specific allegations with respect to each defendant; generalized




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   allegations ‘lumping’ multiple defendants together are insufficient.” W. Coast Roofing &
   Waterproofing, Inc. v. Johns Manville, Inc., 287 F. App’x 81, 86 (11th Cir. 2008).
           In addition, the Court must ignore a plaintiff’s conclusory allegation that a defendant
   “‘knew or should have known’ of a risk” and focus instead only on whether there are properly
   pleaded “facts from which one could draw such a conclusion.” Franklin v. Curry, 738 F.3d
   1246, 1251 (11th Cir. 2013). To meet this burden, it is not enough for the plaintiff to identify
   “red flags” that “could arouse suspicions.” Perlman v. Wells Fargo Bank, N.A., 559 F. App’x
   988, 993-94 (11th Cir. 2014). Instead, the well-pleaded facts must “create a strong inference of
   actual knowledge.” Id. at 994 (emphasis added).
           B.      Plaintiffs’ Claims Under California Law Should Be Dismissed
           MNAO is not an automobile manufacturer. It is the U.S. distributor of Mazda Motor
   Corporation, a Japanese corporation that has not yet been served. MNAO is responsible for the
   sales, marketing and distribution of Mazda vehicles in the United States, and independent
   dealerships sell Mazda vehicles to the public. Plaintiffs allege that MNAO sold vehicles with
   airbags manufactured by Takata containing the Inflator Defect.
           Plaintiffs purport to represent a nationwide class of Mazda customers asserting claims
   under various California statutes—Count 26 (Song-Beverly Act), Count 28 (Unfair Competition
   Law (“UCL”)), Count 29 (Consumer Legal Remedies Act (“CLRA”)), and Count 30 (False
   Advertising Law (“FAL”))—and several common law claims under California law. The ARA
   seeks to represent a nationwide class of automotive recyclers (Count 104 (fraudulent
   misrepresentation and concealment)) and a class of automotive recyclers asserting violations of
   28 states’ consumer protection laws (Count 105). There is no basis for these plaintiffs to assert
   claims against MNAO under California law. “[A] transferee court applies the substantive state
   law, including choice-of-law rules, of the jurisdiction in which the action was filed.” De George
   v. American Airlines, Inc., 338 F. App’x 15, 16 (2d Cir. 2009); see also 15 Charles Alan Wright
   et al., Fed. Prac. & Proc. § 3867 (4th ed.) (“[T]here is no doubt that in diversity of citizenship
   cases, the MDL transferee court must apply the substantive law (including . . . choice of law
   rules) that would have been applied in the transferor forum.”). Application of the proper choice
   of law rules dictates that the consumer plaintiffs’ and ARA’s claims are governed by the law of
   the states where they purchased their respective vehicles. That determination precludes many of
   plaintiffs’ claims.


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                  1.      Choice-of-Law Analysis Requires Dismissal Of Plaintiffs’
                          California Claims.
          Choice of law determinations are necessary when there is a “true conflict” between
   differing state laws, which is present when “two or more states have a legitimate interest in a
   particular set of facts in litigation and the laws of those states differ or would produce a different
   result.” Howard v. Kerzner Int’l Ltd., No. 12-22184-CIV, 2014 WL 714787, at *1 (S.D. Fla.
   Feb. 24, 2014) (Moreno, J.) (citing Grupo Televisa, A.A. v. Telemundo Comm. Group, Inc., 485
   F.3d 1233, 1240 (11th Cir. 2007)). Such a “true conflict” exists here: Alabama, Florida, and
   Pennsylvania—the states where the Individual Plaintiffs purchased their vehicles—“have a
   legitimate interest” in governing consumer transactions that occur within their states, and
   application of those states’ laws “would produce a different result” than California law. Id.
          In refusing to apply California’s UCL, CLRA, and FAL to a nationwide class, the Ninth
   Circuit, in a similar automobile defect case, held “that the district court abused its discretion in
   certifying a class under California law that contained class members who purchased or leased
   their car in different jurisdictions with materially different consumer protection laws.” Mazza v.
   Am. Honda Motor Co., 666 F.3d 581, 590 (9th Cir. 2012). The same is true here. Alabama,
   Florida, and Pennsylvania consumer protection statutes are materially different from, and often
   in direct conflict with, the California statutes upon which the plaintiffs base their claims. By way
   of example, and as discussed in greater detail below, the Alabama Deceptive Trade Practices Act
   (“ADTPA”) and the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) both require
   manifestation of a defect, and FDUTPA has no discovery rule for purposes of the statute of
   limitations.
          A “true conflict” likewise exists with respect to the California common law claims for
   fraudulent concealment (SACCAC ¶ 717), unjust enrichment (SACCAC ¶ 745), and negligent
   failure to recall (SACCAC ¶ 809). There are material, outcome determinative differences
   between California law with respect to these claims and the laws of Alabama, Florida, and
   Pennsylvania. For example, a fraudulent concealment claim has a higher standard of proof in
   Florida, Alabama, and Pennsylvania (“clear and convincing evidence”) than in California
   (“preponderance of the evidence”). Compare ITT Specialty Risk Servs., Inc. v. Barr, 842 So. 2d
   638 (Ala. 2002), Verneret v. Foreclosure Advisors, LLC, 45 So. 3d 889, 890 (Fla. 3d DCA
   2010), and Jackson-Gilmore v. Dixon, No. 04-cv-03759, 2005 WL 3110991, at *6 (E.D. Pa.


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   Nov. 18, 2005) with Rosener v. Sears, Roebuck & Co., 168 Cal. Rptr. 237, 246 (Cal. Ct. App.
   1980). And while California recognizes a negligent failure to recall claim, Alabama, Florida,
   and Pennsylvania do not. Compare Ray v. Ford Motor Co., No. 07-cv-175, 2011 WL 6749034,
   at *2 (M.D. Ala. Dec. 23, 2011) and Thomas v. Bombardier Recreational Prods., Inc., 682 F.
   Supp. 2d 1297, 1302 (M.D. Fla. 2010) with Roberts v. Electrolux Home Prods., Inc., No. 12-cv-
   1644, 2013 WL 7753579, at *13 (C.D. Cal. Mar. 4, 2013).
          For these reasons, the Court must apply the choice-of-law rules of each of the forums that
   have transferred cases against MNAO to this MDL. As explained below, those choice-of-law
   rules require application of the laws in the states where the plaintiffs purchased their vehicles.
   Because no Individual Plaintiff purchased a vehicle in California, their California claims should
   be dismissed.
                   2.     The Law Of The State Of Purchase Governs Pardue’s,
                          Vukadinovic’s, And Birdsall’s Claims.
          As explained above, this Court must apply the choice-of-law rules from each of the
   transferor forums (Fla., Ala., Pa., and N.Y.).1 See Van Dusen v. Barrack, 376 U.S. 612 (1964).
   With respect to the Individual Plaintiffs and the ARA, this Court must conduct choice-of-law
   analyses under Florida, Alabama, Pennsylvania, and New York law. See In re Toyota Motor
   Corp. Unintended Acceleration Mktg., Sales Practices, and Prods. Liab. Litig., 785 F. Supp. 2d
   925, 931 (C.D. Cal. 2011) (“Neither the general authorization of the coordination and
   consolidation under the MDL statute nor the more specific use of consolidated complaints” may
   “alter the substantive rights of the parties.” ). Under each of these choice-of-law tests, the law of
   the state of purchase—not California law—governs their claims.
          Under the Florida choice-of-law analysis, the Court applies the “most significant
   relationship” test from the Restatement (Second) of Conflicts of Laws. See Howard, 2014 WL
   714787 at *2. “Unless another state has a more significant relationship, ‘the local law of the

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     There are six cases that named MNAO as a defendant that were transferred into this MDL.
   Those six cases come from a total of four different jurisdictions, including Florida, Alabama,
   Pennsylvania, and New York. The six transferred cases can be identified as follows: Mickey
   Vukadinovic v. Takata Corp. et al. 2:14-cv-6648 (E.D. Pa.); Roy Martin et al. v. Takata Corp. et
   al. 2:15-cv-00092 (N.D. Ala.); Automotive Dismantlers and Recyclers Ass’n, Inc v. Takata Corp.
   et al 1:15-cv-20520 (S.D. Fla.); Janet McFarland v. Takata Corp. et al 2:15-cv-00153 (W.D.
   Pa.); Wieczorek, et al. v Takata Corporation et al., 1:15-cv-009821 (E.D. N.Y.); and Cathryn
   Tanner and Marita Murphy v. Takata Corp., et al., 2:14-cv-2407 (N.D. Ala.).


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   state where the injury occurred determines the rights and liabilities of the parties.’” Id. (quoting
   Restatement (Second) of Conflicts of Laws § 147 (1971)). With respect to consumer fraud
   claims, this Court has correctly considered: (1) where the alleged reliance took place; (2) where
   the plaintiff received the representations; (3) where the defendant made the representations; (4)
   the domicile of the parties; and (5) the place where the tangible thing that was the subject of the
   transaction was located. Topp, Inc. v. Uniden Am. Corp., 483 F. Supp. 2d 1187, 1191 (2007)
   (Moreno, J.).
          Application of the Restatement test demands a finding that the laws of the states of
   purchase govern the claims of the Individual Plaintiffs. California does not have a “more
   significant relationship” to the present dispute than the states where the plaintiffs reside and
   purchased their vehicles. They have not alleged any personal connection to California. There is
   no allegation that MNAO made representations in California or that plaintiffs received or relied
   upon those representations while in California. Indeed, because plaintiffs allege that MNAO
   sells “millions of Class Vehicles nationwide,” the alleged misrepresentations or omissions could
   have “emanated” from a variety of locations. Walewski v. ZeniMax Media, Inc., No. 6:11-cv-
   1178, 2012 WL 834125, at *8 (M.D. Fla. Jan. 30, 2012). The only California-centric fact alleged
   in the SACCAC is that MNAO is headquartered in California. SACCAC ¶¶ 360-64. At bottom,
   the facts alleged by the plaintiffs reveal that most of the relevant factors—the location of the
   reliance, receipt of representations, domicile, vehicles, injury, and their relationship with
   MNAO—all occurred outside of California. SACCAC ¶¶ 85, 141, 175. Accordingly, the law of
   the place of the alleged injury—Alabama for Pardue, Florida for Vukadinovic and the ARA, and
   Pennsylvania for Birdsall—governs their consumer protection claims. See Howard, 2014 WL
   714787, at *4; Topp, 483 F. Supp. 2d at 1192; Walewski, 2012 WL 834125, at *8.
          The analysis is the same for plaintiffs’ common law claims. In conducting a choice-of-
   law analysis for tort claims, the Court considers: (1) the place of the alleged injury; (2) where
   the alleged injurious conduct occurred; (3) the domicile of the parties; and (4) where the parties’
   relationship is centered. Howard, 2014 WL 714787, at *3. As explained above, the relevant
   facts alleged by the plaintiffs—namely the location of their injuries and the center of their
   relationships with MNAO—are grounded in the states where they purchased their vehicles.
   SACCAC ¶¶ 85, 141, 175. Therefore, the plaintiffs may not pursue—or represent a nationwide



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   class pursuing—California common law claims under Florida’s choice-of-law test. See Howard,
   2014 WL 714787, at *4.
          The results are the same under the Alabama, New York, and Pennsylvania choice-of-law
   tests applied by the other transferor forums. “Lex loci delicti has been the rule in Alabama for
   [more than] 100 years. Under this principle, an Alabama court will determine the substantive
   rights of an injured party according to the law of the state where the injury occurred.” Fitts v.
   Minnesota Min. & Mfg. Co., 581 So.2d 819, 820 (Ala. 1991). Under New York’s “interest
   analysis,” courts typically apply the law of the place of injury to consumer protection, fraud, and
   negligence claims. See In re Grand Theft Auto Video Game Consumer Litig., 251 F.R.D. 139,
   149 (S.D. N.Y. 2008); Cromer Fin. Ltd. v. Berger, 137 F. Supp. 2d 452, 492 (S.D. N.Y. 2001).
   And Pennsylvania choice-of-law typically applies the place of the injury for consumer protection
   statutes while following Florida and the contacts test of the Second Restatement for fraud and
   negligence. See In re Actiq Sales & Mktg. Practices Litig., 790 F. Supp. 2d 313, 321 (E.D. Pa.
   2011); Panthera Rail Car LLC v. Kasgro Rail Corp., 985 F. Supp. 2d 677, 700 (W.D. Pa. 2013).
          Under any of the applicable choice-of-law tests, Alabama, Florida, and Pennsylvania law
   govern the plaintiffs’ statutory and common law claims because they made their purchases and
   suffered their alleged injuries in those states. They may not pursue UCL, CLRA, FAL, or
   common law claims against MNAO under California law.
                  3.      The Commerce Clause and Due Process Clause Prohibit
                          Extraterritorial Application of California State Laws.
          The Individual Plaintiffs’ claims under California law should also be dismissed because
   the Commerce Clause and the Due Process Clause prohibit the application of California state law
   to plaintiffs and claims outside California’s borders. E.g., In re Managed Care, 150 F. Supp. 2d
   at 1296. Here, none of the Individual Plaintiffs purchased their cars in California or had any
   connection to California whatsoever, so California law cannot apply to their claims. In support
   of this argument, MNAO hereby incorporates by reference the arguments on this point made by
   Ford Motor Company (“Ford”) and Honda Motor Co., Ltd. (“Honda”) in their Motions to
   Dismiss. Ford MTD at Sec. IV.D; Honda MTD at Sec. III.A.




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                  4.      Alternatively, The California Law Claims Should Be Dismissed
                          Even If California Law Is Applied.
          Even if the Court concludes that California law governs plaintiffs’ claims, those claims
   are still subject to dismissal on numerous independent grounds. First, plaintiffs’ unjust
   enrichment claim (Count 27) should be dismissed under California law because “there is no
   cause of action in California for unjust enrichment.” Melchior v. New Line Prod., Inc., 131 Cal.
   Rptr. 2d 347, 357 (Cal. Ct. App. 2003).
          Plaintiffs’ negligent failure to recall claim under California law (Count 31) should be
   dismissed in favor of NHTSA’s primary jurisdiction over automotive recalls. See Section I,
   infra. Moreover, the negligent failure to recall claim should also be dismissed in light of
   California’s economic loss rule. In support of this argument on the economic loss rule, MNAO
   hereby incorporates by reference the arguments made in BMW of North America, LLC’s
   (“BMW”) Motion to Dismiss. BMW MTD at Sec. VIII.
          Plaintiffs’ claim for breach of implied warranty under California’s Song-Beverly
   Consumer Warranty Act (Count 26) should be dismissed for three reasons. First, the Song-
   Beverly Act requires that “the subject vehicle must at least have been bought or leased in
   California.” D.L. Edmonson Selective Service Inc. v. LCW Automotive Corp., 689 F. Supp. 2d
   1226, 1235 (C.D. Cal. 2010). Because Pardue, Vukadinovic, and Birdsall purchased their cars in
   Alabama, Florida, and Pennsylvania respectively, their Song-Beverly claim must be dismissed.
   Second, the Song-Beverly Act claim should be dismissed because the implied warranty created
   by the Song-Beverly Act is limited in duration to one year. Here, the Individual Plaintiffs did
   not file a claim against MNAO within the one year warranty period provided under the statute.
   In support of this argument, MNAO hereby incorporates by reference the arguments made by
   BMW, Honda, and Toyota Motor Sales USA, Inc. (“Toyota”). BMW MTD at Sec. VI.C; Honda
   MTD at Sec. IV.A.; Toyota MTD at Sec. VI. Third, Pardue and Birdsall’s claims for breach of
   implied warranty under the Song-Beverly Act fail because they purchased their cars used and are
   not in vertical privity with MNAO. See Anunziato v. eMachines, Inc., 402 F. Supp. 2d 1133,
   1141 (C.D. Cal. 2005) (dismissing implied warranty claim because “there is no privity between
   the original seller and a subsequent purchaser who is in no way a party to the original sale”);
   Tietsworth v. Sears, Roebuck & Co., No. 5:09-CV-00288, 2009 WL 3320486, at *12 (N.D. Cal.
   Oct. 13, 2009).


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          As discussed in sections D, E.1, F.1, and G.1 below, plaintiffs’ UCL, CLRA, FAL, and
   fraudulent concealment claims should be dismissed because they are not pled with the
   particularity required by Rule 9(b). See In re Sony Gaming Networks and Customer Data Sec.
   Breach Litig., 903 F. Supp. 2d 942 (S.D. Cal. 2012) (dismissing UCL, CLRA, and FAL claims
   under Rule 9(b) where claims were “grounded in fraud”). In addition, plaintiffs’ UCL, CLRA,
   FAL, and fraudulent concealment claims fail to allege any actionable misrepresentation that
   MNAO made about its vehicles, as the only specific representations alleged in the SACCAC are
   non-actionable puffery. SACCAC at 310(d) (advertising Mazda vehicles as having “inspiring
   performance,” “legendary performance, function, style, and safety,” and “reassuring safety
   features” with no reference to safety of its airbags). In support of this argument, MNAO hereby
   incorporates by reference the puffery arguments under California law made by Nissan North
   America, Inc. (“Nissan”) in its Motion to Dismiss. Nissan MTD at Sec. VIII.
          For all of the foregoing reasons, Plaintiffs’ statutory and common law claims under
   California law should be dismissed even if California law is applied to their claims.
          C.      Manifestation: All Damages Claims Against MNAO Should Be
                  Dismissed For Failure To Allege Manifestation Of A Defect.

          Plaintiffs contend that five different Mazda models in years 2003 through 2008 contain
   Takata airbags that have “an unreasonably dangerous tendency” to manifest the Inflator Defect.
   SACCAC ¶ 197. Plaintiffs do not allege that all or most of MNAO’s vehicles have manifested
   or will manifest this defect. To the contrary, in the entire 442-page SACCAC, plaintiffs allege
   only one manifestation of an Inflator Defect in a Mazda vehicle—a December 31, 2014 incident
   in a 2008 Mazda 6—and that vehicle owner is not a named plaintiff. SACCAC ¶ 306(c).
   Plaintiffs do not allege that any other Mazda model, or any Mazda vehicle for model years 2003-
   2007, has ever manifested the alleged defect.
          Dispositively, the Individual Plaintiffs, Florida resident Vukadinovic (2004 Mazda
   MPV), Alabama resident Pardue (2007 Mazda 6), and Pennsylvania resident Birdsall (2004
   Mazda 6i), along with the automotive parts recyclers who assigned their claims to the ARA,
   never experienced the alleged Inflator Defect. See SACCAC ¶¶ 85, 141, 175, 189-93. Like
   hundreds of thousands of other Mazda owners, their vehicles have performed satisfactorily
   without any manifestation of the Inflator Defect. Nevertheless, plaintiffs seek economic loss
   damages based on the conclusory allegation that the value of their vehicles has somehow


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   diminished and that they would not have purchased their vehicles, or paid as much for them, had
   they known about the alleged defect. Id.
          Numerous courts have addressed and rejected this exact type of economic loss, no-
   manifestation claim. In fact, the “overwhelming majority” of courts require manifestation of a
   defect even where plaintiffs allege “diminished value or loss of resale value” and the “defect is
   life-threatening.” Bussian v. DaimlerChrysler Corp., 411 F.Supp.2d 614, 630 (M.D.N.C. 2006).
   These courts recognize that allowing recovery by uninjured buyers would be speculative, unfair,
   and bad economics. See, e.g., In re Bridgestone/Firestone, Inc., 288 F.3d 1012, 1016-17 (7th
   Cir. 2002); Briehl v. Gen. Motors Corp., 172 F.3d 623, 629 (8th Cir. 1999).
          Florida, Alabama, and Pennsylvania have “firmly aligned” with this “majority
   jurisprudence” and, for that reason alone, the Court should dismiss the plaintiffs’ claims. Kia
   Motors Am. Corp. v. Butler, 985 So. 2d 1133, 1139 (Fla. 3d DCA 2008); see also Angus v.
   Shiley, 989 F.2d 142 (3d Cir. 1993); Ford Motor Co. v. Rice, 726 So.2d 626 (Ala. 1998).
                  1.      The Florida Plaintiffs Fail To Allege Manifestation Of A Defect
                          As Required By Florida Law.
          Vukadinovic and the ARA (the Florida plaintiffs), do not allege that their vehicles
   manifested the alleged Inflator Defect, but that is exactly what Florida law requires them to do.
   See SACCAC ¶¶ 175, 189-93; Kia Motors, 985 So. 2d at 1139.
          In Kia Motors, Florida’s Third District Court of Appeals held that Florida requires
   manifestation of a defect to recover damages for any cause of action premised on an allegedly
   defective product. 985 So. 2d at 1139. Like plaintiffs here, the Kia Motors plaintiffs asserted
   breach of warranty, Magnuson Moss Warranty Act, and FDUTPA claims seeking damages for
   “the difference between the price paid for each vehicle and the value of the vehicle as delivered”
   and the “depressed resale value” of the vehicles. Id. at 1134. And, also like here, the plaintiffs
   alleged a potentially life-threatening vehicle defect. Id. (explaining that alleged defect can cause
   “vehicle to be unable to stop . . . and loss of control”). Nevertheless, the court unequivocally
   stated that Florida is aligned with the “majority jurisprudence” denying recovery to those
   plaintiffs whose vehicles have not “manifested a deficiency.” Id. at 1139.
          The Kia Motors court supported its conclusion that “the majority rule is the correct rule”
   by adopting Judge Easterbrook’s economic rationale from Bridgestone/Firestone. Id. at 1139
   n.5 (quoting Bridgestone/Firestone, 228 F.3d at 1017). As Judge Easterbrook explained, “‘[i]f
   tort law fully compensates those who are physically injured, then any recoveries by those whose

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   products function properly means excess compensation.” Bridgestone/Firestone, 228 F.3d at
   1017. This “excess compensation” rationale has even stronger application in this case than it did
   in Kia Motors. Because plaintiffs have alleged that only one Mazda vehicle manifested the
   Inflator Defect, all but one Mazda owner would be overcompensated if plaintiffs recover
   economic loss damages absent manifestation of the defect.
          In addition to this economic rationale, Kia Motors adopted Judge Easterbrook’s common
   sense reasoning that courts should not compensate owners of vehicles with a mere propensity to
   fail because they will receive everything they bargained for if the defect never manifests or if the
   problem is fixed before resale. Kia Motors, 985 So. 2d at 1139 n.5; see also O’Neil v.
   Simplicity, Inc., 574 F.3d 501, 504 (8th Cir. 2009); Carlson v. Gen. Motors Corp., 883 F.2d 287,
   297-98 (4th Cir. 1989); Weaver v. Chrysler Corp., 172 F.R.D. 96, 99-100 (S.D.N.Y. 1997);
   Wallis v. Ford Motor Co., 208 S.W.3d 153 (Ark. 2005). That reasoning applies with equal force
   here, where many Mazda owners’ vehicles will never manifest the defect (see SACCAC ¶¶ 195,
   306(c) (alleging a mere “tendency” to manifest and only one defect manifestation in a Mazda
   vehicle)), and many Mazda owners’ vehicles will be repaired before resale through the
   widespread recalls.
          Kia Motors does not stand alone. In Brisson v. Ford Motor Co., the Eleventh Circuit
   applied Florida law and affirmed dismissal of the plaintiffs’ warranty claims because the
   plaintiffs “fail[ed] to allege that they experienced a defect within the warranty period.” 349 F.
   App’x 433, 434 (11th Cir. 2009). In Breakstone v. Caterpillar, Inc., this Court cited Kia Motors,
   noting that Florida law “require[s] a showing of actionable defect” and that class members whose
   products have not “manifested a deficiency . . . only have speculative damages” and cannot
   recover. No. 1:09-cv-23324, 2010 WL 2164440, at *5-6 (S.D. Fla. May 6, 2010) (citing Kia
   Motors, 985 So. 2d at 1139; Weaver, 172 F.R.D. at 99); see also Cramer v. Ford Motor Co., No.
   2007-CA-2135, 2011 WL 2477232, at *1 (Fla. Cir. Ct. June 9, 2011) (relying on Kia Motors and
   recognizing that those whose vehicles performed satisfactorily cannot recover). These decisions
   leave little doubt that Kia Motors reflects the current state of Florida law.
          Plaintiffs will likely attempt to save their consumer fraud claims under FDUTPA by
   relying on a pre-Kia Motors, Brisson, and Breakstone decision—Collins v. DaimlerChrysler
   Corp., 894 So. 2d 988, 990-91 (Fla. 5th DCA 2004). Notably, the Collins decision only
   addressed claims under FDUTPA, and the court heavily relied on the meaning of that statute’s


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   “actual damages” requirement. See id. at 990-91; see also In re Toyota Motor Corp. Unintended
   Acceleration Mktg., Sales Practices, and Prods. Liab. Litig., No. 8:10ML 02151, 2012 U.S. Dist.
   LEXIS 189744, at *240-41 (C.D. Cal. May 4, 2012) (explaining that “[i]n no way did the
   [Collins] court indicate that its holding applied beyond the context of FDUTPA”). But even
   concerning FDUTPA claims, Collins no longer reflects Florida law. No Florida court has ever
   cited Collins for the proposition that a plaintiff may recover for an unmanifested defect. And, in
   Breakstone, this court elected to follow Kia Motors and ignored Collins entirely. 2010 WL
   2164440, at *5.
          In the Toyota unintended acceleration MDL, the court dismissed all of the damages
   claims asserted by plaintiffs who did not experience unintended acceleration, recognizing that
   Kia Motors and its progeny accurately reflected current Florida law. Toyota, 2012 U.S. Dist.
   LEXIS 189744, at *235-54. The Toyota court recognized that, “[u]nlike Collins, in which the
   court simply could ‘see no requirement in FDUTPA that a defect manifest itself,’ the Kia Motors
   court relied on an economic- and policy-based rationale for adopting the majority rule on the
   manifestation of defect issue.” Id. at *244-45. The Toyota court also rejected the plaintiffs’
   argument that the manifestation rule did not apply because the alleged defect was sudden and
   dangerous. Id. at *246-47, 253. Even though the plaintiffs alleged “thousands of crashes and
   hundreds of deaths,” the Toyota court held that awarding plaintiffs economic losses when their
   vehicles have not malfunctioned “would lead to the undesirable consequences recognized by
   Judge Easterbrook” and the Florida appellate court in Kia Motors. Id. at *248 n.15, 253
   (highlighting that majority rule adopted by Kia Motors makes “no distinction between defects
   that could lead to sudden, unexpected, and catastrophic consequences, and those that could not”).
          Because Florida law requires Vukadinovic and the ARA to plead manifestation of the
   alleged Inflator Defect, and they did not, their damages claims against MNAO must be
   dismissed.
                  2.     Pardue, The Alabama Plaintiff, Failed To Allege Manifestation Of
                         A Defect As Required By Alabama Law.
          Pardue asserts fraud and negligence claims, but fails to allege that her vehicle manifested
   the Inflator Defect. SACCAC ¶ 141. She cannot assert those claims as a matter of law because,
   like Florida, Alabama has adopted the majority rule requiring manifestation of a defect. See
   Rice, 726 So. 2d at 626; Pfizer, Inc. v. Farsian, 682 So.2d 405 (Ala. 1996); see also Kia Motors,


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   985 So. 2d at 1139 (citing Rice and including Alabama in list of “majority of jurisdictions”
   requiring defect manifestation).
          Farsian and Rice are both controlling and instructive. In Farsian, the Alabama Supreme
   Court held that a plaintiff who purchased a defective heart valve that had not yet malfunctioned
   could not bring a fraud claim against the manufacturer. 682 So. 2d at 407-08. Like plaintiffs
   allege here, the Farsian plaintiff contended that his heart valve was “worth less than the valve
   would have been worth if it had been what [the defendant] represented it to be.” Id. at 407. The
   court held that, no matter how the plaintiff characterized his claim, “Alabama courts have never
   allowed a recovery based on a product that . . . is and has been working properly.” Id.
          Similarly, in Rice, the plaintiffs sued a vehicle manufacturer for fraudulent suppression
   based on their vehicles’ alleged “undue propensity to roll over in sudden-avoidance maneuvers.”
   Rice, 726 So. 2d at 626-27. Like in Farsian and here, the plaintiffs alleged benefit-of-the
   bargain damages because they received vehicles that “were worth less than they would have been
   worth if they had been what [the defendant] had represented them to be.” Id. at 627. Consistent
   with Farsian and “the view of most courts,” the Alabama Supreme Court dismissed the
   plaintiffs’ claims and recognized that “‘[i]t is well established that ‘[p]urchasers of an allegedly
   defective product have no legally recognizable claim where the alleged defect has not manifested
   itself in the product they own.’” Id. at 628-29 (quoting Weaver, 172 F.R.D. at 99).2 The Rice
   court required defect manifestation even though the plaintiffs alleged that their vehicles would
   inevitably fail if ever called upon to perform a sudden-avoidance maneuver. Id. at 629. Thus,
   even if plaintiffs could plausibly allege that Pardue’s airbag will invariably malfunction in the
   event of an accident, Alabama law requires more.
          As these cases demonstrate, Alabama unwaveringly requires manifestation of a defect to
   plead a claim for damages. Alabama does not allow an exception for dangerous or life-
   threatening defects. In fact, Farsian involved an extraordinarily deadly defect. Not only could
   the defective heart valves fail at any time, but their failures resulted in deaths two-thirds of the
   time. Farsian, 682 So. 2d at 405, 406 n.2. Similarly, Rice involved a dangerous defect that

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     Rice left open the question of whether a plaintiff could recover if the defect had caused a
   “tangible injury,” such as a loss upon resale of the vehicle. See Rice, 726 So. 2d at 630, 631 n.1.
   No Alabama court since Rice has adopted such an exception to the manifestation rule and, in any
   event, Pardue does not allege that she sold her vehicle at a loss.


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   caused vehicles to roll over in emergency situations. Rice, 726 So. 2d at 626-27. Despite these
   dangerous and life-threatening defects, in both cases, the Alabama Supreme Court refused to
   allow recovery for unmanifested defects. This Court should do the same for Pardue’s claims.
                  3.      Birdsall, The Pennsylvania Plaintiff, Failed To Allege
                          Manifestation Of A Defect As Required By Pennsylvania Law.
          Like the other Individual Plaintiffs, Birdsall does not allege that his 2004 Mazda 6i ever
   manifested the alleged Inflator Defect—his vehicle worked properly for 10 years. SACCAC at ¶
   85. Like Florida and Alabama, however, Pennsylvania law does not allow recovery for
   unmanifested defects. See Angus, 989 F.2d at 147-48; see also Osness v. Lasko Prods., Inc., 868
   F. Supp. 2d 402, 410-11 (E.D. Pa. 2012) (dismissing warranty claim because alleged defect did
   not manifest during warranty period even though “defect may have existed at the time of
   purchase”); Toyota, 785 F. Supp. 2d at 932 (holding that Pennsylvania and a number of other
   states “would preclude or would highly like preclude some or all of the claims asserted by
   Plaintiffs whose products have manifested no defect”).
          In Angus, the Third Circuit faced the same question the Court does here: whether the
   Pennsylvania Supreme Court allows recovery for plaintiffs who purchased products that have not
   manifested the allegedly dangerous defect. Angus, 989 F.2d at 147-48. The Angus plaintiff
   asserted a tort claim based on the defendant’s manufacture and sale of defective heart valves that
   were “likely to lead to the recipient’s death or injury.” Id. at 143. The Third Circuit held that,
   “regardless of how [the plaintiff] pleaded her claims,” she could not recover damages for a
   defective heart valve absent manifestation. Id. at 147. The court’s opinion was based in part on
   the policy reasoning that the Pennsylvania Supreme Court would not “sanction a large, if not
   vast, number of lawsuits by consumers who obtained properly functioning valves.” Id. at 148.
          After Angus, the Pennsylvania Supreme Court proved the Third Circuit “prescien[t].”
   See Morrison v. Williams, No. Civ.A 98-2408, 1998 WL 717423, at *3 (E.D. Pa. Sept. 18, 1998)
   (highlighting, in dismissing tort claim absent manifest injury from asbestos exposure, that
   subsequent Pennsylvania Supreme Court precedent “confirms the prescience of the Court of
   Appeals” in Angus). In Simmons v. Pacor, Inc., the Pennsylvania Supreme Court held that
   plaintiffs who had not demonstrated symptoms from asbestos could not recover damages. 674
   A.2d 232, 237 (Pa. 1996). By refusing to compensate individuals who did not manifest an




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   asbestos-related injury, the Pennsylvania Supreme Court refused to reward plaintiffs who were
   not yet symptomatic even though they could develop cancer in the future. Id. at 236-37.3
          Accordingly, like his Florida and Alabama counterparts, Birdsall’s claims against MNAO
   fail for lack of defect manifestation.
          D.      Under Iqbal And Rule 8(a), Plaintiffs Fail To Allege That MNAO Had
                  Knowledge Of The Inflator Defect Prior To 2013.
          Since Iqbal was decided in 2009, multiple courts have dismissed fraud and other
   knowledge-dependent automotive defect claims under Rule 8(a) due to the plaintiffs’ failure to
   plead specific facts showing that the defendant knew of the defect at the time of sale. For
   instance, in Gotthelf v. Toyota Motor Sales, U.S.A., Inc., the Third Circuit Court of Appeals
   recently affirmed the dismissal of a complaint based on the failure to adequately allege that
   Toyota knew of a defect that caused certain vehicles’ headlights to turn off. 525 F. App’x 94 (3d
   Cir. 2013). The Gotthelf plaintiff alleged that Toyota knew or should have known of the defect
   based on “several customer complaints [] filed with the NHTSA” prior to the sale and “through
   its own ‘[b]ooks of [k]nowledge, internal testing, information on dealership repair orders,
   warranty data, [and] records of customer complaints.’” Id. at 104. The Gotthelf court concluded
   that these allegations were insufficient. First, the “complaints were filed with the NHTSA, not
   with Toyota, and the NHTSA did not notify Toyota of its investigation until May 6, 2009.” Id.
   Second, the plaintiff provided no details regarding Toyota’s alleged internal testing, books of
   knowledge, and complaints. Id.; see also Wilson v. Hewlett-Packard Co., 668 F.3d 1136, 1147
   (9th Cir. 2012) (“The allegation that . . . the manufacturer, had ‘access to the aggregate
   information and data regarding the risk of overheating’ is speculative and does not suggest how
   any tests or information could have alerted [the manufacturer] to the defect.”). Consequently,
   the Court held that under Iqbal, “[n]othing in the Complaint provide[d] factual support for
   Toyota’s alleged knowledge and concealment of the defect . . . . To the contrary, the facts
   demonstrate[d] that once Toyota became aware of the defect during the NHTSA investigation, it

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     The Pennsylvania Supreme Court also more recently recognized “[t]he impact of the defect on
   each class member implicates [the] concept[] of manifestation” and only certified a consumer
   class because the plaintiff offered proof “that each class vehicle manifested the defect” and the
   defendant’s proof of non-manifestation was unconvincing. See Samuel-Bassett v. Kia Motors
   Am., Inc., 34 A.3d 1, 20, 27 (Pa. 2011). By contrast, here, plaintiffs’ allegations concede
   Birdsall’s vehicle has not manifested the alleged defect.


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   initiated a Customer Support program to notify customers of the problem with the HID
   headlamps.” Gotthelf, 525 F. App’x at 104.
          Like Gotthelf, other courts applying Rule 8(a) post-Iqbal have rejected knowledge-
   dependent claims where the plaintiff alleged that the defendant had knowledge of a defect due to
   (1) the fact that the defendant designed or manufactured the product, (2) unspecified internal
   testing or knowledge, (3) undated customer complaints, or (4) the existence of the same defect in
   a similar product. See, e.g., Utica Nat. Ins. Grp. v. BMW of N. Am., LLC, 45 F. Supp. 3d 157,
   162 (D. Mass. 2014) (holding plaintiff failed to “allege[] facts sufficient to infer that” defendant
   had “knowledge of the defect” prior to sale even where, “seventy-five days later, BMW issued a
   recall to correct the defect” and “the recall report . . . could support an inference that BMW
   might have received up to nineteen complaints related to this recall”); Aprigliano v. Am. Honda
   Motor Co., 979 F. Supp. 2d 1331, 1333 (S.D. Fla. 2013) (dismissing complaint for failure to
   plead knowledge where plaintiffs alleged that the manufacturer was aware of the design defect
   “since the time of manufacture” and had also received undated complaints); Williams v. Yamaha
   Motor Corp., U.S.A., No. CV 13-05066 BRO, 2015 WL 2375906, at *9 (C.D. Cal. Apr. 29,
   2015) (“[A]llegations regarding Defendant’s exclusive access to engineering data ‘require the
   Court to draw the inference that Defendant’s opportunity to learn about this alleged defect before
   selling their engines to the public necessarily means that they did learn about the defect.’”)
   (emphasis in original); McQueen v. BMW of N. Am., LLC, No. CIV.A. 12-06674 SRC, 2014 WL
   656619, at *5 (D.N.J. Feb. 20, 2014) (rejecting allegation “that BMW ‘had knowledge of the
   defect from the outset’ because ‘the defect [pleaded] in the SAC is an engineering decision by
   BMW’”); Herremans v. BMW of N. Am., LLC, No. CV 14-02363 MMM PJWX, 2014 WL
   5017843, at *17 (C.D. Cal. Oct. 3, 2014) (“[G]eneral reference to ‘internal testing, records of
   customer complaints, dealership repair records, and other internal sources’ provides little, if any,
   factual foundation [for plaintiffs’] conclusion that BMW knew of the defect.”)
          As explained below, plaintiffs’ allegations regarding MNAO’s knowledge are even more
   deficient than the allegations in the cases cited above. Plaintiffs do not allege any facts showing
   that MNAO had knowledge that some of its vehicles might contain the Inflator Defect until
   2013—long after the Individual Plaintiffs had purchased their vehicles. Without facts to support
   an allegation of direct knowledge, plaintiffs advance two theories of constructive knowledge: (1)
   MNAO knew or should have known that Takata’s airbags were defective at the time of


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   manufacture because MNAO knew that Takata’s design contained “volatile and unstable
   ammonium nitrate;” and (2) MNAO knew or should have known about the Inflator Defect
   because it had a duty to investigate all of its vehicles following Honda’s first recall in 2008.
   Both of these theories fail as a matter of law, and this Court should dismiss each of plaintiffs’
   claims that require proof of MNAO’s knowledge at the time of sale (as explained in each
   relevant section below).
              1.      Plaintiffs Do Not Allege That MNAO Had Actual Knowledge Of The
                      Inflator Defect Before 2013.
          The first fact allegation in the SACCAC about MNAO’s knowledge of the Inflator Defect
   is that, “[i]n February and March 2013, Takata notified Nissan and Mazda that it was
   investigating airbag quality.” SACCAC ¶ 275. Plaintiffs allege no facts about what MNAO
   knew before 2013. See id. at ¶¶ 225-306. Though other defendants allegedly experienced
   Inflator Defect-related incidents as early as 2003, plaintiffs do not assert that any Mazda vehicles
   were involved in incidents during this time period. See id. at ¶¶ 225-28. Likewise, MNAO is
   not among the defendants who received complaints regarding “unusual Takata airbag
   deployments that should have prompted further inquiry into the airbags’ fitness for use.”
   SACCAC ¶¶ 278-79, 308.
              2.      Plaintiffs’ Allegation That MNAO Knew Of The Inflator Defect From
                      The Moment Of Manufacture Fails As A Matter Of Law.
          Though not alleged in the initial complaint, plaintiffs have added the allegation that
   “[p]rior to installing the Defective Airbags in their vehicles, the Vehicle Manufacturer
   Defendants knew or should have known of the Inflator Defect, because Takata informed them
   that the Defective Airbags contained the volatile and unstable ammonium nitrate and the Vehicle
   Manufacturer Defendants approved Takata’s designs.” SACCAC ¶ 812. Plaintiffs offer no
   substantive factual allegations to support this new theory. Compare id. at ¶¶ 194-339 with
   FCCAC at ¶¶ 177-316.
          Knowing that Takata’s airbags contained ammonium nitrate is not the same as knowing
   that the airbags were defective. The Federal District Court in New Jersey has rejected exactly
   the same argument. See McQueen 2014 WL 656619 at *5. In McQueen, the plaintiff alleged
   that “BMW was aware of [the defect at issue] ‘from the design stage [of the vehicle]’ because
   BMW intentionally design [sic] the 7–series to operate in this manner.” Id. at *1. The court
   rejected this “novel” argument:

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          [I]t is a circular argument that could be used to impute knowledge . . . to any
          manufacturer who designs and markets a product that is later alleged to be
          defective—“I (consumer) believe this item to be defective; you (manufacturer)
          designed the item and sold it; ergo, you knew it was defective, and thus you
          defrauded me when you elected not to tell me about the defect.” . . . It may be, as
          Plaintiff argues, that because BMW designed Plaintiff’s vehicle BMW “cannot
          disclaim knowledge of [its intentional design] choices.” But it does not follow that
          BMW cannot disclaim knowledge of a defect when faced with a consumer fraud
          lawsuit. Plaintiff cannot equate design choices with fraudulent conduct simply by
          saying so and without pleading facts supporting a plausible inference of knowledge
          on BMW’s part. If Rule 8(a), Iqbal, and Twombly are to have any force
          whatsoever, a complaint cannot state a [] claim that requires the plaintiff plead
          knowledge by merely alleging that the defendant designed a defective product.

   Id. at *5. Here, MNAO’s lack of knowledge is even more evident than BMW’s in McQueen
   because MNAO did not design, develop, or manufacture the defective airbags. While plaintiffs’
   allegations may be sufficient to show that Takata was aware of the Inflator Defect due to
   difficulties it experienced in designing, testing, and manufacturing airbags with ammonium
   nitrate, see SACCAC ¶¶ 205-09, 212-24, 229, plaintiffs do not allege that Takata shared test
   results with MNAO. To the contrary, following the first airbag failures, plaintiffs allege that
   Takata performed “secret” tests, “delete[d] the test data,” and “did not disclose these tests to the
   public or federal regulators.” Id. at ¶¶ 230-33. On plaintiffs’ “information and belief,” the only
   vehicle manufacturer aware of these tests was Honda. Id. at ¶ 233.
          With respect to MNAO, plaintiffs allege no incidents until December 2013 even though
   MNAO began using the airbags at issue in some 2003 model vehicles. Id. at ¶¶ 197, 225-306.
   This suggests that in nearly every instance, ammonium nitrate-based airbags have operated as
   intended in Mazda vehicles. Plaintiffs’ new “knowledge of the design equals knowledge of the
   defect” theory is unsupported by any specific facts, and it fails as a matter of law.
              3.      Plaintiffs’ Allegation That MNAO Had Constructive Knowledge Based On
                      A Duty To Investigate The First Honda Recall Fails As A Matter Of Law.

          Plaintiffs’ second constructive knowledge allegation is that “the Vehicle Manufacturer
   Defendants were again made aware of the Inflator Defect in Takata’s airbags not later than 2008,
   when Honda first notified regulators of a problem with its Takata airbags.” SACCAC ¶ 812.
   Plaintiffs’ theory is that “[b]ecause their vehicles also contained Takata airbags, the Vehicle
   Manufacturer Defendants knew or should have known at that time that there was a safety
   problem with their airbags, and the Vehicle Manufacturer Defendants should have launched their

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   own investigations and notified their customers.” Id. at ¶ 32. In other words, plaintiffs assert
   that MNAO had a duty to investigate its vehicles immediately when Honda recalled 3,940 “2001
   Honda Accord and Civic vehicles” due to an airbag defect. Id. at ¶ 239. No such duty exists.
          “Whether a duty exists is a question of law for the court.” Gyongyosi v. Miller, 80 So. 3d
   1070, 1077 (Fla. 4th DCA 2012); see also State Farm Fire & Cas. Co. v. Owen, 729 So. 2d 834,
   839 (Ala. 1998) (“[T]he existence of a duty is a question of law to be determined by the trial
   judge.”). To MNAO’s knowledge, no court has ever imposed a duty on one manufacturer to
   investigate its own products when a different manufacturer issues a recall, and at least one court
   has rejected this precise theory. Herrod v. Metal Powder Products, 886 F. Supp. 2d 1271 (D.
   Utah 2012). In Herrod, the plaintiff argued that the defendant, a semi-trailer manufacturer, had a
   duty to investigate based on a recall notice issued by a different semi-trailer manufacturer. Id. at
   1277-78. The recall was due to a defective wheel retention system manufactured by a third
   party, and the Herrod lawsuit was based on injuries caused by the same defect in a wheel
   retention system manufactured by the same third party. Like plaintiffs here, the plaintiff in
   Herrod asserted that the defendant had constructive knowledge of the defect based on a duty to
   investigate its own semi-trailers following the recall of the same component manufactured by the
   same third party. Id. The Herrod court rejected this argument as “unreasonable”:
          Imposing [a duty to investigate the safety of a part based on a third party’s recall]
          would create an unreasonable burden on all non-manufacturing sellers by forcing
          them to track every product sold for its useful life and retain design specifications
          in order to identify latent risks that are uncovered in similar products years later.
          Non-manufacturing sellers of products are not in the best position to bear this
          burden and in many cases would not have the information necessary to identify
          such risks. Such a duty, if appropriate, should normally be placed on the
          manufacturer of the [component] product and not a down-line retailer.

   Id. at 1278. In this case, plaintiffs’ own allegations show that MNAO had no reason to believe
   that an investigation of its airbags was necessary. As plaintiffs allege, during the first recall,
   Honda “assured regulators that it had identified all ‘possible vehicles that could potentially
   experience the problem.’” SACCAC at ¶ 239 (emphasis added). Likewise, during the 2009
   recall, Takata informed NHTSA that it “has not provided any airbag inflators that are the same or
   substantially similar to the inflators in vehicles covered by Recalls 08V-593 [in 2008] and 09V-
   259 [in 2009] to any customers other than Honda. The physical characteristics of the inflator
   housing used in the Honda vehicles subject to these recalls are unique to Honda.” Id. at ¶ 257


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   (emphasis added). Between the 2008 Honda recall and 2013, plaintiffs allege no statements,
   recalls, or other events indicating that some Mazda vehicles might contain defective airbags. See
   SACCAC ¶¶ 239-79.
          In sum, plaintiffs have not alleged facts establishing that MNAO had a duty to investigate
   its airbags. The Court should adopt Herrod’s reasoning. Tens of millions of vehicles are
   recalled every year, with each recall affecting different makes, models, and numbers of vehicles.
   See http://www.nhtsa.gov/Vehicle+Safety/Recalls+&+Defects.4 “[F]orcing [MNAO] to track
   every product sold”—and every component in those products—“for its useful life . . . in order to
   identify latent risks that are uncovered in similar products years later” would impose an
   “unreasonable burden” on the company. Herrod, 886 F. Supp. 2d at 1278. If any entity had a
   duty to investigate whether Mazda’s vehicles were potentially affected, Takata was in “best
   position to bear this burden and . . . ha[d] the information necessary to identify such risks.” Id.;
   see also SACCAC at ¶ 336 (alleging that the recyclers—entities that sell airbags as stand-alone
   products—cannot detect whether the airbags they own contain the Inflator Defect.). Plaintiffs’
   allegation that MNAO had constructive knowledge of the Inflator Defect is based solely on a
   duty that does not exist as a matter of law, and plaintiffs have therefore failed to allege that
   MNAO had any knowledge of the Inflator Defect—actual or constructive—before 2013.
          E.      This Court Should Dismiss All Claims Asserted By Crystal Pardue (Ala.)5
                  1.      Fraudulent Concealment – Count 25
          Under Alabama law, “[t]o establish a prima facie case of fraudulent concealment of a
   material fact, a plaintiff must show (1) that the defendant had a duty to disclose a material fact,
   (2) that the defendant concealed or failed to disclose a material fact, (3) that the defendant’s
   concealment or failure to disclose the material fact induced the plaintiff to act or to refrain from
   acting, and (4) that the plaintiff suffered actual damage as a proximate result.” Dodd v. Nelda
   Stephenson Chevrolet, Inc., 626 So. 2d 1288, 1293 (Ala. 1993).


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     This Court can “take judicial notice of documents filed with NHTSA and now available on the
   agency’s public website.” Winzler v. Toyota Motor Sales U.S.A., Inc., 681 F.3d 1208, 1212
   (10th Cir. 2012) (applying rule that “[t]he contents of an administrative agency’s publicly
   available files . . . traditionally qualify for judicial notice”).
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     Unlike Vukadinovic, Pardue does not assert claims against MNAO under the MMWA (Count
   3) or for breach of the implied warranty of merchantability as part of the Alabama sub-class.


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          “As a matter of law, one can only be liable for concealing facts of which one has
   knowledge.” Harrell v. Dodson, 398 So. 2d 272, 276 (Ala. 1981). “Concealment implies
   design, or purpose.” Marshall v. Crocker, 387 So. 2d 176, 179 (Ala. 1980). Consequently, “an
   action for suppression will lie only if the defendant actually knows the fact alleged to be
   suppressed.” Cook’s Pest Control, Inc. v. Rebar, 28 So. 3d 716, 726 (Ala. 2009) (emphasis
   added). “Even if [a defendant] should have discovered” the allegedly concealed fact, “unless
   [the defendant] actually did discover it, a claim of fraudulent suppression will not lie.” Id.
          As set out in Section D.1, plaintiffs allege that MNAO first had actual knowledge of the
   inflator defect in 2013, after Pardue purchased her vehicle used in 2012. Plaintiffs’ other
   knowledge theories allege constructive knowledge—that MNAO “knew or should have known”
   of the defect either at the time of manufacture or following the first Honda recall in 2008. See id.
   Even if these constructive knowledge allegations are plausible, they are insufficient to plead
   fraudulent concealment under Alabama law.
          Pardue’s claim also fails to meet the heightened pleading requirements of Rule 9(b).
   Pardue purchased her car from a used car dealership unaffiliated with MNAO. SACCAC ¶ 141.
   Plaintiffs do not allege that she interacted with any MNAO employees or agents, much less
   allege the “time and place of each [] statement” containing a material admission and the “person
   responsible” for making it. Clausen, 290 F.3d at 1310. They also do not allege any “statement”
   by MNAO other than the recall notice she received, much less the “content of such statements,”
   and she does not allege “what [MNAO] obtained” from her used vehicle purchase “as a
   consequence of” the alleged fraud. Id. Pardue’s claim therefore fails.
          Finally, Pardue’s fraudulent concealment claim should be dismissed because MNAO did
   not have a duty to disclose any information to Pardue (a used car purchaser) regarding the Takata
   airbags. In support of this argument, MNAO incorporates by reference the duty arguments made
   under Alabama law by Subaru of America, Inc. (“Subaru”). Subaru MTD at Sec. III.B.
                  2.      Negligent Failure To Recall – Count 31
          Pardue’s negligent failure to recall claim must be dismissed for three independent
   reasons. First, Alabama does not recognize a failure to recall claim. Second, even if it did,
   Pardue’s claim would be barred by Alabama’s economic loss rule. Third, as explained in
   Section I, Pardue’s claim is barred under the primary jurisdiction doctrine.




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                           a.      Alabama Law Does Not Recognize A Claim For Negligent
                                   Failure To Recall.
           Alabama courts do not recognize a common law claim for negligent failure to recall. See,
   e.g., Ray v. Ford Motor Co., No. 3:07CV175-WHA-TFM, 2011 WL 6749034, at *2 (M.D. Ala.
   Dec. 23, 2011). While a small minority of courts have created this duty, “the vast majority of
   jurisdictions [have] refuse[d] to create a cause of action for ‘failure to recall and/or retrofit.’”
   Nelson v. Original Smith & Wesson Bus. Entities &/or Corp., No. 4:10-CV-0003-RRB, 2010
   WL 7125186, at *3 (D. Alaska May 18, 2010), aff’d, 449 F. App’x 581 (9th Cir. 2011); see also
   McDaniel v. Bieffe USA, Inc., 35 F. Supp. 2d 735, 743 (D. Minn. 1999) (holding that Michigan
   would likely reject a common law duty to recall because “the overwhelming majority of other
   jurisdictions have rejected such an obligation”).
           Like the majority of jurisdictions, the Restatement (Third) of Torts rejects a common law
   duty to recall and explains the justification for the majority rule:
           Duties to recall products impose significant burdens on manufacturers. . . . [E]ven
           when a product is defective . . . , an involuntary duty to recall should be imposed
           on the seller only by a governmental directive issued pursuant to statute or
           regulation. Issues relating to product recalls are best evaluated by governmental
           agencies capable of gathering adequate data regarding the ramifications of such
           undertakings.
   Restatement (Third) of Torts: Prod. Liab. § 11 cmt. a (1998). Because Pardue’s negligent failure
   to recall claim does not exist under Alabama law, it should be dismissed.
                           b.      In the Alternative, The Economic Loss Rule Requires
                                   Dismissal.
           Pardue’s negligence claim is barred by Alabama’s economic loss rule because she seeks
   damages only “for economic losses” related to the alleged reduction in value of her vehicle due
   to the Inflator Defect. SACCAC, ¶ 194. Under Alabama’s economic loss rule, “a cause of
   action does not arise under [the] tort theor[y] of negligence . . . where a product malfunctions or
   is defective and thereby causes damage only to the product itself.” Rice, 726 So. 2d at 631. This
   rule is applicable to claims alleging a defect in the vehicles that “renders them all defective and
   unreasonably dangerous.” Id. at 629 (addressing claims that vehicles have “undue propensity to
   roll over in sudden-avoidance maneuvers.”); see also Dairyland Ins. Co. v. Gen. Motors Corp.,
   549 So. 2d 44, 45 (Ala. 1989) (dismissing claim against manufacturer alleging defect that caused
   vehicle to catch “fire while [plaintiff] was driving it” under the economic loss rule).



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                  3.      Unjust Enrichment – Count 27
          Pardue’s unjust enrichment claim fails under Alabama law for multiple reasons.
   Principally, “[a] defendant cannot be unjustly enriched if it does not have in its possession any
   money belonging to the plaintiff.” RREF RB-AL SLDL, LLC v. Saxon Land Dev., 968 F. Supp.
   2d 1133, 1141 (M.D. Ala. 2013). Pardue alleges that she purchased a 2007 model Mazda in
   2012 from a used car dealership. SACCAC ¶ 141. Plaintiffs do not allege that MNAO received
   any of the money she paid for this purchase. Id. Even if the claim did not fail for this reason, it
   would fail because plaintiffs have alleged adequate remedies at law. See, e.g., N. Assur. Co. of
   Am. v. Bayside Marine Const., Inc., No. 08-cv-222, 2009 WL 151023, at *4 (S.D. Ala. Jan. 21,
   2009) (“In Alabama, the doctrine of unjust enrichment is an equitable remedy which issues only
   where there is no adequate remedy at law.”).
                  4.      Alabama Deceptive Trade Practices Act – Count 49
          Pardue’s ADTPA claim suffers from at least three deficiencies, any one of which requires
   dismissal of that claim. First, plaintiffs do not allege that Pardue’s 2007 Mazda 6 manifested the
   airbag defect. See SACCAC ¶ 128. As explained in Section C.2, because her vehicle did not
   manifest the alleged defect, Pardue cannot state a claim for damages under the ADTPA. See
   Farsian, 682 So. 2d at 407-08; Rice, 726 So. 2d at 631.
          Second, the ADTPA requires proof of “knowledge of false or deceptive conduct on the
   part of the wrongdoer.” Sam v. Beaird, 685 So. 2d 742, 744 (Ala. Civ. App. 1996). As detailed
   in Section D, plaintiffs fail to adequately allege MNAO’s knowledge of false or deceptive
   conduct. Accordingly, Pardue cannot assert an ADTPA claim against MNAO.
          Third, Pardue cannot state an ADTPA claim because she failed to satisfy the statute’s
   pre-suit demand requirement. The ADTPA provides that “at least 15 days prior to the filing of
   any action under this section,” Pardue had to make “a written demand for relief” that “reasonably
   describe[es] the unfair or deceptive act or practice relied upon and the injury suffered.” Ala.
   Code § 8-19-10(e). Plaintiffs do not allege that Pardue provided Mazda with any notice before
   filing suit, let alone a written demand with the specificity required under the statute. See
   SACCAC ¶ 128. Pardue’s failure to meet this pre-suit written demand requirement mandates
   dismissal of her ADTPA claim. See, e.g., Deerman v. Fed. Home Loan Mortg. Corp., 955 F.
   Supp. 1393, 1399-1400 (N.D. Ala. 1997) (dismissing ADTPA claim for failure to comply with
   15-day pre-suit notice requirement).


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          F.      This Court Should Dismiss All Claims Asserted By Vukadinovic (Fla.)
                  1.      Fraudulent Concealment – Count 25

          Vukadinovic’s claim for fraudulent concealment under Florida law should be dismissed
   for at least four reasons. First, in products liability cases, Florida’s economic loss rule bars a
   plaintiff from recovering “economic damages caused by a defective product beyond those
   damages provided by warranty law.” Tiara Condo. Ass’n, Inc. v. Marsh & McLennan
   Companies, Inc., 110 So. 3d 399, 401 (Fla. 2013); Burns v. Winnebago Indus., Inc., No. 8:13-
   CV-1427-T-24, 2013 WL 4437246, at *3 (M.D. Fla. Aug. 16, 2013) (dismissing fraudulent
   concealment claim under Florida’s economic loss rule); Aprigliano v. Am. Honda Motor Co.,
   979 F. Supp. 2d 1331, 1338 (S.D. Fla. 2013). Under this rule, “a manufacturer in a commercial
   relationship has no duty under either a negligence or strict products liability theory to prevent a
   product from injuring itself.” Tiara, 110 So.3d at 404-05 (emphasis added). Therefore,
   Vukadinovic’s fraudulent concealment claim should be dismissed under the economic loss rule.
          Second, Vukadinovic has not adequately alleged that MNAO had knowledge of any false
   statements to Vukadinovic at the time he purchased his car. Under Florida law, “[t]he elements
   for actionable fraud are (1) a false statement concerning a material fact; (2) knowledge by the
   person making the statement that the representation is false; (3) the intent by the person making
   the statement that the representation will induce another to act on it; and (4) reliance on the
   representation to the injury of the other party.” Lance v. Wade, 457 So. 2d 1008, 1011 (Fla.
   1984). With respect to fraudulent concealment claims based on the sale of an allegedly defective
   vehicle, plaintiffs must allege that the defendant knew of the defect at the time of sale. See
   Aprigliano, 979 F. Supp. 2d at 1343. It is not sufficient for a plaintiff to allege that the defendant
   “knew or should have known” a statement was false. See Rand v. Nat’l Fin. Ins. Co., 304 F.3d
   1049, 1052 (11th Cir. 2002) (citing First Interstate Dev. Corp. v. Ablanedo, 511 So. 2d 536, 539
   (Fla. 1987)). Rather, the Florida Supreme Court has held that a plaintiff must show that a
   defendant’s misrepresentation was “deliberate and knowing.” Ablanedo, 511 So.2d at 539.
          Plaintiffs do not allege any facts showing that MNAO had actual knowledge until 2013.
   Because plaintiffs fail to allege that MNAO had actual knowledge of the Inflator Defect when he
   purchased his vehicle in early 2005, his fraudulent concealment claim fails. See Aprigliano, 979
   F. Supp. 2d at 1343 (dismissing claim where plaintiffs “fail[ed] to plead facts sufficient to



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   establish Honda’s knowledge and concealment of the defect [at the time of sale], much less that
   Honda’s actions amount[ed] to a scheme to defraud its customers.”).
          Third, Vukadinovic’s fraudulent concealment claim fails under Rule 9(b). The only
   specific statement by MNAO that was allegedly fraudulent is that, at some unspecified time, an
   unspecified employee at an unspecified “Mazda dealership” (which is not owned or operated by
   MNAO) told him that his airbag light was “nothing to worry about.” SACCAC ¶ 175. Other
   than this statement, Vukadinovic alleges he “viewed or heard about the vehicle” in unspecified
   advertisements. Id. These nondescript allegations are not sufficient to meet Rule 9(b)’s
   heightened pleading standard. See Clausen, 209 F.3d at 1310 (stating that plaintiff must identify
   “precisely what . . . omissions were made,” the “time and place” of each omission, the “person
   responsible” for the omission, and the “manner in which” the statements containing the omission
   “misled the plaintiff”).
          Finally, Vukadinovic’s fraudulent concealment claim should be dismissed because
   MNAO did not have a duty to disclose any information to Vukadinovic regarding the Takata
   airbags. In support of this argument, MNAO incorporates by reference the duty arguments made
   under Florida law by Nissan. Nissan MTD at Sec. VII.C.
                  2.      Negligent Failure To Recall – Count 31
          Vukadinovic’s negligent failure to recall claim should be dismissed for three reasons.
   First, as in Alabama, Florida does not recognize a common law duty to recall. See Thomas v.
   Bombardier Recreational Prods., Inc., 682 F. Supp. 2d 1297, 1302 (M.D. Fla. 2010) (“Plaintiff
   does not dispute defendant’s argument that Florida law does not recognize that a manufacturer
   has a post-sale duty to recall or retrofit a product.”). Second, even if such a claim was
   recognized in Florida, it should be dismissed pursuant to Florida’s economic loss rule. Tiara,
   110 So. 3d at 401. Finally, as detailed in Section I, Vukadinovic’s negligent failure to recall
   claim should be dismissed in favor of NHTSA’s primary jurisdiction over automotive recalls.
                  3.      Unjust Enrichment – Count 27
          Vukadinovic’s unjust enrichment claim should be dismissed for at least two reasons.
   First, “[t]he statute of limitations on a claim for unjust enrichment is four years.” E.g. Swafford
   v. Schweitzer, 906 So. 2d 1194, 1195 (Fla. 4th DCA 2005). “Under Florida law, a cause of
   action for unjust enrichment is extinguished unless the action is brought within four years after
   the transfer was made, regardless of when the transfer is ultimately discovered.” Steinberg v. A


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   Analyst Ltd., No. 04-60898-CIV, 2009 WL 806780, at *10 (S.D. Fla. Mar. 26, 2009). “The
   Florida Supreme Court has ruled that there is no equitable tolling for unjust enrichment claims
   and has refused to apply a delayed discovery doctrine to such claims.” Id. (citing Davis v.
   Monahan, 832 So.2d 708, 711-12 (Fla. 2002)). Vukadinovic’s unjust enrichment claim accrued
   when he purchased his vehicle in 2005, and the statute of limitations ran on this claim in 2009.
          Second, “[i]t is well settled in Florida that unjust enrichment is an equitable remedy and
   is, therefore, not available where there is an adequate legal remedy.” Am. Honda Motor Co. v.
   Motorcycle Info. Network, Inc., 390 F. Supp. 2d 1170, 1178 (M.D. Fla. 2005). Here, the express
   warranty Vukadinovic received from MNAO governs claims related to defects in his vehicle, and
   “a plaintiff cannot pursue a quasi-contract claim for unjust enrichment if an express contract
   exists concerning the same subject matter.” Diamond “S” Dev. Corp. v. Mercantile Bank, 989
   So. 2d 696, 697 (Fla. 1st DCA 2008). For both of these reasons, Vukadinovic’s unjust
   enrichment claim must be dismissed.
                  4.      Florida Unfair And Deceptive Trade Practices Act – Count 47
          As explained above, Florida law requires manifestation of a defect as a prerequisite to the
   recovery of damages. Section C.1. Florida’s manifestation requirement applies to
   Vukadinovic’s FDUTPA claim, and it must be dismissed. Kia Motors, 985 So. 2d at 1139.
          Even if Vukadinovic’s vehicle had manifested the alleged defect, his FDUTPA claim is
   barred by Florida’s four-year statute of limitations for FDUTPA claims. Marlborough Holdings
   Grp., Ltd. v. Azimut-Benetti,SPA, Platinum Yacht Collection No. Two, Inc., 505 F. App’x 899,
   906 (11th Cir. 2013) (citing, e.g., § 95.11(3)(f), Fla. Stat.). As this Court recently confirmed,
   Vukadinovic’s “FDUTPA claim accrue[d] at the time of purchase . . ., not upon discovery of an
   alleged defect.” Speier-Roche, 2014 WL 1745050, at *6 (“It is well-settled there is no ‘delayed
   discovery rule’ applicable to FDUTPA claims.”).
          Applying these rules here, Vukadinovic’s FDUTPA claim accrued when he purchased his
   2004 Mazda MPV “new in early 2005.” SACCAC ¶ 159. Consequently, the statute of
   limitations for his FDUTPA claim ran in early 2009, several years before plaintiffs commenced
   this action, and his claim must be dismissed. See Speier-Roche, 2014 WL 1745050, at *6-7.
          Finally, Vukadinovic’s FDUTPA claim should be dismissed because it fails to allege any
   actionable misrepresentation that MNAO made about its vehicles. Instead, the only specific
   representations alleged in the SACCAC are non-actionable puffery. SACCAC at 310(d)


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   (advertising Mazda vehicles as having “inspiring performance,” “legendary performance,
   function, style, and safety,” and “reassuring safety features” with no reference to safety of its
   airbags). In support of this argument, MNAO hereby incorporates by reference the arguments
   under Florida law made by Nissan in its Motion to Dismiss. Nissan MTD at Sec. VIII.
                  5.      Magnuson-Moss Warranty Act Claim – Count 3
          The Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301, et seq. (“MMWA”) authorizes
   civil actions by consumers to enforce the terms of both express and implied warranties under
   state law. Gill v. Blue Bird Body Co., 147 F. App’x 807, 810 (11th Cir. 2005) (opining that state
   law “controls” MMWA claims); Bohlke v. Shearer's Foods, LLC, No. 14-cv-80727, 2015 WL
   4249418, at *12 (S.D. Fla. Jan. 20, 2015) (holding that a MMWA “claim depends on a state law
   claim for breach of warranty”) (citations omitted). While MMWA claims constitute separate
   federal causes of action for breach of warranty, “courts must look to the relevant state law to
   determine the meaning and creation of any implied warranty,” and “state law thus controls”
   Vukadinovic’s implied warranty MMWA claim. Gill, 147 F. App’x at 810.
          If the Court dismisses Vukadinovic’s state law warranty claim, it must also dismiss his
   MMWA claim. E.g., David v. Am. Suzuki Motor Corp., 629 F. Supp. 2d 1309, 1324 (S.D. Fla.
   2009) (“Plaintiff's implied warranty fails under Florida law. Therefore, a MMWA claim based on
   breach of implied warranty fails.”). As explained immediately below, Vukadinovic’s state-law
   warranty claim fails for numerous reasons.
                  6.      Implied Warranty Of Merchantability – Count 48
                          a.      Vukadinovic Did Not Provide Pre-Suit Notice.
          Under Florida law, a “buyer must notify the seller that the goods are nonconforming in
   order to recover damages for breach of either an express or implied warranty.” Cohen v. Implant
   Innovations, Inc., 259 F.R.D. 617, 642 (S.D. Fla. 2008). Fla. Stat. § 672.607(3)(a) mandates that
   a “buyer must within a reasonable time after he or she discovers or should have discovered any
   breach notify the seller of breach or be barred from any remedy. . . .” Moreover, “‘the burden is
   on the plaintiff to show that he gave the required notice within a reasonable time.’” Cohen, 259
   F.R.D. at 642 (quoting Gen. Matters v. Paramount Canning Co., 382 So. 2d 1262, 1264 (Fla. 2d
   DCA 1980)). Here, plaintiffs have not alleged that Vukadinovic provided notice that his vehicle
   was nonconforming. Accordingly, his implied warranty claim should be dismissed.




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                          b.       Vukadinovic Lacks Privity With MNAO.
          “Florida law requires privity of contract to sustain a breach of implied warranty claim.”
   David, 629 F. Supp. 2d at 1321; see also Bailey v. Monaco Coach Corp., 168 F. App’x. 893, 894
   (11th Cir. 2006) (“[Plaintiff] purchased the motor home from a dealer and not directly from [the
   manufacturer]. No privity exists between [plaintiff] and [defendant].”); Speier-Roche, 2014 WL
   1745050, at *7 (“[W]hen a vehicle is purchased directly from a dealer as opposed to the
   manufacturer . . . no privity exists between the plaintiff and manufacturer,” and without privity,
   the plaintiff “fails to state a valid implied warranty claim against Defendant.”); Justice v. Rheem
   Mfg. Co., 2014 U.S. Dist. LEXIS 179128, *17 (S.D. Fla. Aug. 21, 2014) (dismissing implied
   warranty claims for lack of privity, and rejecting plaintiff’s claim that the implied warranties
   were applicable because they were intended for “end users . . ., regardless of the existence of
   intermediary sellers/dealers.”); Mesa v. BMW N. Am., 904 So. 2d 450, 458 (Fla. 3d DCA 2005)
   (“Under Florida law, a plaintiff cannot recover economic losses for breach of implied warranty
   in the absence of privity.”).
          Vukadinovic purchased his vehicle from a dealer, not from MNAO (a distributer).
   Consequently, just like in Speier-Roche, this Court should find that Vukadinovic lacks privity
   with MNAO and should dismiss his claim for breach of implied warranty of merchantability.
                          c.       In The Alternative, Vukadinovic’s Implied Warranty Claim
                                   Is Time Barred.
          If this Court determines that Vukadinovic’s implied warranty claim does not fail for lack
   of privity or failure to provide pre-suit notice, his claim should still be dismissed because it is
   time barred. Vukadinovic’s implied warranty claim is precluded by the express written warranty
   that covered his vehicle. SACCAC ¶ 175. That written warranty modified any implied
   warranties that attached to Vukadinovic’s vehicle by limiting their duration to the duration of the
   express warranty, which was “48 months or 50,000 miles, whichever comes first.” See 2004
   MPV Warranty, attached as Exhibit A at 9, 14; see, e.g., Speier-Roche, 2014 WL 1745050, at
   *24 (dismissing implied warranty claim made outside of the 12-months/12,000 miles duration of
   the express warranty where the express warranty provided that: “Any implied warranty,
   including any warranty of merchantability or warranty of fitness for a particular purpose, is
   limited in duration to the stated period of these written warranties.”). Under Florida law, an
   express written warranty may modify the implied warranty of merchantability if two


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   requirements are met: (1) the express warranty “mention[s] merchantability” and (2) the
   modification is conspicuous. Fla. Stat. § 672.316(2). Both of these requirements were met here.
          First, the warranty modifies “All Implied Warranties, including but not limited to any
   regarding marketability.” 2004 MPV Warranty, Ex. A at 14. Second, the modifications are
   conspicuous because they are presented on their own page, the main modifications are in bold
   lettering, and the types of warranties that are being modified are capitalized. See, e.g., McKissic
   v. Country Coach, Inc., No. 8:07-cv-1488, 2008 WL 2782678, at *4 (M.D. Fla. July, 16 2008)
   (modification conspicuous when on the reverse page and capitalized); Fla. Stat. § 671.201
   (modification conspicuous when, there is a heading in bold type and the warranty “call[s]
   attention to the language” of the modification). Because the complaint here was filed ten years
   after Vukadinovic purchased the vehicle in early 2005 (SACCAC at ¶ 175), his implied warranty
   claim is time barred by the terms of his written warranty.
          G.      This Court Should Dismiss All Claims Asserted By Birdsall (Pa.)
                  1.      Fraudulent Concealment – Count 25

          Birdsall’s claim for fraudulent concealment should be dismissed for at least four reasons.
   First, Pennsylvania’s economic loss rule bars a plaintiff from recovering purely economic
   damages for fraudulent concealment where the injury is limited to the product itself. Excavation
   Tech., Inc. v. Columbia Gas Co. of Pa., 936 A.2d 111, 115 (Pa. Super Ct. 2007) (“The economic
   loss rule states that ‘no cause of action exists for negligence that results solely in economic
   damages unaccompanied by physical injury or property damage.”). Though the Pennsylvania
   Supreme Court has not addressed the applicability of the economic loss rule to fraud claims, the
   Third Circuit Court of Appeals “predicted that the Supreme Court of Pennsylvania would apply
   the economic loss doctrine to intentional fraud cases,” particularly given “Pennsylvania’s
   acceptance of the ‘gist of the action’ doctrine” and because Pennsylvania state courts have
   exhibited a ‘lack of hospitality to tort liability for purely economic loss.’” Werwinski v. Ford
   Motor Co., 286 F.3d 661, 680 (3d Cir. 2002). This Court should follow Werwinski and dismiss
   Birdsall’s fraudulent concealment claim under Pennsylvania’s economic loss rule.
          Second, plaintiffs have not adequately alleged that MNAO knowingly made false
   statements to Birdsall related to the purchase of his car. Pennsylvania has adopted a six element
   test for fraud that requires a plaintiff to prove, among other things, that the defendant made the
   alleged misrepresentation “with knowledge of its falsity or recklessness as to whether it is true or

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   false.” Bortz v. Noon, 729 A.2d 555, 560 (Pa. 1999). As explained in Section D, plaintiffs fail to
   plausibly allege that MNAO had knowledge of the Defect, either when an independent dealer
   first sold Birdsall’s 2004 Mazda 6i or when Birdsall purchased his vehicle used in 2008.
   SACCAC ¶ 85. His fraudulent concealment claim must therefore be dismissed.
          Third, Birdsall’s fraud claim also fails under Rule 9(b) for failure to plead fraud with
   particularity. Although plaintiffs alleged that Birdsall viewed unspecified advertisements before
   purchasing his vehicle, SACCAC ¶ 85, they fail to allege any of the details necessary to satisfy
   Rule 9(b)’s heightened pleading standard. See Clausen 209 F.3d at 1310 (stating that plaintiff
   must identify “precisely what . . . omissions were made,” the “time and place” of each omission,
   the “person responsible” for the omission, and the “manner in which” the statements containing
   the omission “misled the plaintiff”).
          Finally, Birdsall’s fraudulent concealment claim should be dismissed because MNAO did
   not have a duty to disclose any information to Birdsall (a used car purchaser) regarding the
   Takata airbags. In support of this argument, MNAO incorporates by reference duty arguments
   made under Pennsylvania law by Nissan in its motion to dismiss. Nissan MTD at Sec. VII.C.
                  2.      Negligent Failure To Recall – Count 31

          Birdsall’s negligent failure to recall claim should be dismissed for three reasons. First, as
   in Alabama and Florida, Pennsylvania has not recognized a common law duty to recall. Second,
   even if such a claim were recognized in Pennsylvania, it should be dismissed pursuant to
   Pennsylvania’s economic loss rule. Excavation Tech., 936 A.2d at 115 (“The economic loss rule
   states that ‘no cause of action exists for negligence that results solely in economic damages
   unaccompanied by physical injury or property damage.”). Finally, as detailed in Section I below,
   Birdsall’s negligent failure to recall claim should be dismissed in favor of NHTSA’s primary
   jurisdiction over automotive recalls.
                  3.      Unjust Enrichment – Count 27

          Under Pennsylvania law, “[t]he elements necessary to prove unjust enrichment are: (1)
   benefits conferred on defendant by plaintiff; (2) appreciation of such benefits by defendant; and
   (3) acceptance and retention of such benefits under such circumstances that it would be
   inequitable for defendant to retain the benefit without payment of value.” Mitchell v. Moore, 729
   A.2d 1200, 1203-04 (Pa. Super. 1999). Because Birdsall purchased his vehicle from a used car
   dealership with no connection to MNAO, SACCAC ¶ 85, Birdsall did not confer a benefit on

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   MNAO, Schmidt v. Ford Motor Co., 972 F. Supp. 2d 712, 722 (E.D. Pa. 2013) (dismissing
   unjust enrichment claim where “Plaintiffs do not even allege that they purchased their vehicles
   from Defendant or one of Defendant’s dealers.”). In other words, without “alleged evidence of
   actual payment to” MNAO connected to Birdsall’s purchase, the claim fails. Novae Corporate
   Underwriting Ltd. v. Atl. Mut. Ins. Co., 556 F. Supp. 2d 489, 497 (E.D. Pa. 2008).
          Furthermore, in Pennsylvania, “equitable relief is not appropriate where a party has an
   adequate legal or statutory remedy.” Tudor Dev. Grp., Inc. v. U.S. Fid. & Guar. Co., 968 F.2d
   357, 364 (3d Cir. 1992) (citation omitted). “In determining whether a remedy is “adequate,” we
   must look to its availability and not to the likelihood of its success.” Id. (citation omitted). Id.
   Here, Birdsall alleges multiple statutory and common law claims. To the extent he is entitled to
   recover anything, it is through those claims rather than an equitable claim for unjust enrichment.
                  4.      Birdsall Cannot Assert MMWA, UTPCPL, Or Implied Warranty
                          Claims On Behalf Of The Pennsylvania Sub-Class.

          Plaintiffs do not assert claims against MNAO on behalf of the Pennsylvania sub-class.
   See SACCAC ¶¶ 1685, 1707 (asserting claims against Takata, Honda, BMW, Nissan, and
   Toyota). But even if they had, the Pennsylvania Unfair Trade Practices and Consumer
   Protection Law (“UTPCPL”) and implied warranty claims asserted by that subclass would fail as
   a matter of law. First, any claim under the UTPCPL would be barred by the economic loss
   doctrine. See Werwinski, 286 F.3d at 681 (holding that Pennsylvania’s economic loss doctrine
   applies to claims under the UTPCPL). In addition, a UTPCPL claim would fail because Birdsall
   fails to allege any actionable misrepresentation that MNAO made about its vehicles. Instead, the
   only specific representations alleged in the SACCAC are non-actionable puffery. SACCAC at
   310(d) (advertising Mazda vehicles as having “inspiring performance,” “legendary performance,
   function, style, and safety,” and “reassuring safety features” with no reference to safety of its
   airbags). In support of this argument, MNAO hereby incorporates by reference the arguments
   under Pennsylvania law made by Nissan in its Motion to Dismiss. Nissan MTD at Sec. VIII.
          Likewise, any claim for breach of the implied warranty of merchantability would fail
   because it would be untimely, either because Birdsall did not file suit within four years of the
   date he purchased his vehicle in June 2008, see Busche v. Monaco Coach Corp., No. 06-cv-3801,
   2006 WL 3302477, at *4 (E.D. Pa. Nov. 13, 2006) (holding that the four-year statute of
   limitations for implied warranty claims “accrues on the date the tender of delivery is made”), or


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   within the 48-month durational limit created by the applicable express warranty. See 2004
   Mazda 6i Warranty, attached hereto as Exhibit B at 9, 14; Kagan v. Harley Davidson, Inc., No.
   07-cv-0694, 2008 WL 1815308, at *9 (E.D. Pa. Apr. 22, 2008) (holding that implied warranty
   claims expire at the same time as express warranty claims). Finally, Birdsall’s implied warranty
   claim would fail because Pennsylvania law requires a product to malfunction in order to state an
   implied warranty claim. Osness, 868 F. Supp. 2d at 414. Here, Birdsall does not allege that the
   airbag in his Mazda vehicle failed at any point, and his claim would therefore fail. Because
   Birdsall did not and cannot assert a claim for breach of implied warranty under Pennsylvania
   law, his claim for breach of the MMWA also fails as detailed above. See Section F.5.
          H.      This Court Should Dismiss All Claims Asserted By the ARA (Fla.)
          MNAO moves to dismiss all claims asserted against MNAO by the ARA (Counts 104-
   106). In support of this motion, MNAO hereby incorporates by reference the arguments in the
   Memorandum of Law of the Automotive Defendants in Support of Motion to Dismiss the
   Automotive Dismantlers and Recyclers Association, Inc.’s Claims in the Second Amended
   Consolidated Class Action Complaint, which was filed contemporaneously by Honda on behalf
   of the Automotive Defendants. For the reasons stated therein, MNAO respectfully requests that
   the ARA’s claims against MNAO be dismissed.

          I.      This Court Should Dismiss All Claims For Injunctive Relief And The
                  Negligent Failure To Recall Claim Given NHTSA’s Primary Jurisdiction
          Plaintiffs’ negligent failure to recall claim and claims for injunctive relief fall directly
   within the traditional competence of NHTSA and, therefore, should be dismissed under the
   doctrine of primary jurisdiction. “‘Primary jurisdiction is a judicially created doctrine whereby a
   court of competent jurisdiction may dismiss or stay an action pending a resolution of some
   portion of the action[] by an administrative agency.’ The purpose of the doctrine is to allow an
   administrative agency to resolve issues that are within the special competence of that body.”
   Abels v. JPMorgan Chase Bank, N.A., 678 F. Supp. 2d 1273, 1277 (S.D. Fla. 2009) (quoting
   Smith v. GTE Corp., 236 F.3d 1292, 1298 n.3 (11th Cir. 2001)). In determining when an agency
   has primary jurisdiction over an issue, courts generally consider: (1) whether the question is
   within the conventional experience of judges or instead involves technical or policy
   considerations within the agency’s expertise; and (2) whether there is a possibility of inconsistent
   rulings that would disrupt the regulation of the business entrusted to the agency. See United


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   States v. W. Pac. R.R. Co., 352 U.S. 59, 63-64 (1956); Nader v. Allegheny Airlines, Inc., 426
   U.S. 290, 303-04 (1976).
           In addition to the claim for negligent failure to recall, plaintiffs seek various types of
   “injunctive relief,” including “Court supervision of the Mazda Defendants’ numerous recalls.”
   SACCAC ¶ 767, Prayer for Relief ¶¶ D, G. These claims and requests fall squarely within
   NHTSA’s wheelhouse and are not suited for resolution by this Court. “[T]he Motor Vehicle
   Safety Act, 49 U.S.C. § 30101 et seq., gives NHTSA the authority to investigate complaints
   concerning automobile defects and to order a recall where appropriate.” Chin v. Chrysler Corp.,
   182 F.R.D. 448, 464 (D.N.J. 1998). Since as early as 2008, NHTSA has been heavily involved
   in recall decisions with respect to vehicles with Takata airbags. SACCAC ¶¶ 237-308. More
   importantly, NHTSA’s “investigation and oversight” of Takata-airbag-related recalls is still
   “ongoing.” 6 NHTSA, Department of Transportation Announces Steps to Address Takata Air
   Bag Defects (May 19, 2015); see SACCAC ¶ 299.
           The doctrine of primary jurisdiction precludes plaintiffs from pursuing claims in a
   judicial forum that bear directly upon NHTSA’s investigation and decisions. “Courts are not
   equipped to decide whether and how to fix allegedly defective products.” White v. Gen. Motors
   Corp., 718 So. 2d 480, 505-06 (La. Ct. App. 1998). These questions are best suited for
   “[NHTSA] or other administrative agencies with the budget, staffing, technical expertise and
   legislative mandate.” Id.; see also Chrysler Corp. v. Dep’t of Transp., 472 F.2d 659, 675 (6th
   Cir. 1972) (recognizing NHTSA’s “expertise” in automobile safety). Where NHTSA “has taken
   jurisdiction of [the defect] matter and negotiated recall mandates” the court “should defer to
   NHTSA” with respect to claims implicating those processes. Ford Motor Co. v. Magill, 698
   So.2d 1244, 1245 (Fla. 3d DCA 1997); see also Silvas v. Gen. Motors, LLC, No. 2:14-cv-89,
   2014 WL 1572590, at *3 (S.D. Tex. Apr. 17, 2014) (deferring “to NHTSA under the doctrine of
   primary jurisdiction” because plaintiffs “put a recall matter directly in issue”); Bussian v.
   DaimlerChrysler Corp., 411 F. Supp. 2d 614, 629 (M.D.N.C. 2005) (dismissing claims relating
   to vehicles subject to a recall because the requested “relief . . . is clearly within the special
   competence of the NHTSA”).



   6
       http://www.nhtsa.gov/About+NHTSA/Press+Releases/DOT-action-on-takata-air-bag-defects.


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          As important, this Court should defer to NHTSA to prevent issuing a ruling that would
   disrupt the regulation of businesses under NHTSA’s supervision. Nader, 426 U.S. at 303-04.
   Prudence dictates that NHTSA should have the first and comprehensive opportunity to address
   automobile recalls. “[A]ffording a judicial remedy on top of one already promised by a
   coordinate branch risks needless inter-branch disputes over the execution of the remedial
   process” and “risks . . . discouraging other branches from seeking to resolve disputes pending in
   court.” Winzler v. Toyota Motor Sales U.S.A., Inc., 681 F.3d 1208, 1211 (10th Cir. 2012); see
   also Flo-Sun, Inc. v. Kirk., 783 So. 2d 1029, 1037 (Fla. 2001) (explaining that application of the
   primary jurisdiction doctrine promotes the “integrity of the administrative process and . . .
   allow[s] the executive branch to carry out its responsibilities as a co-equal branch of
   government”). For these reasons, plaintiffs’ claims for injunctive relief and negligent failure to
   recall must be dismissed in deference to NHTSA’s overriding jurisdiction.
          In addition to the doctrine of primary jurisdiction, plaintiffs’ claims for injunctive relief
   and negligent failure to recall should be dismissed for two additional reasons. First, plaintiffs’
   requests for injunctive relief and their negligent failure to recall claim should be dismissed
   because they are prudentially moot. In support of this argument, MNAO incorporates by
   reference Honda’s argument on this issue. Honda MTD at Sec. II.B. Second, these claims
   should be dismissed because they are preempted by federal law. In support of this argument,
   MNAO incorporates by reference the arguments on preemption made by Toyota and Ford in
   their motions to dismiss. Toyota MTD at Secs. VII.B, VIII; Ford MTD at Sec. IV.I.
          Finally, if MNAO’s Motion to Dismiss is not granted in its entirety, then MNAO seeks a
   stay of the MDL litigation for six months in deference to NHTSA’s primary jurisdiction over
   automotive recalls. In support of this argument, MNAO incorporates by reference the Motion to
   Stay Based on the Primary Jurisdiction of the National Highway Traffic Safety Administration,
   which was filed by Toyota contemporaneously herewith.
                                            CONCLUSION
          For all of the foregoing reasons, MNAO respectfully requests that this Court dismiss all
   the claims asserted against MNAO by Pardue, Vukadinovic, Birdsall, and the ARA.




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   Dated: July 17, 2015                       Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on July 17, 2015, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF. I also certify the foregoing document is
   being served this day on all counsel of record via transmission of Notice of Electronic Filing
   generated by CM/ECF.
                                        /s/ Michael R. Tein
                                        MICHAEL R. TEIN




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